FILED
8/31/2021 3:06 PM          Case   5:21-cv-01133-XR Document 1-3 Filed 11/16/21 Page 1 of 12
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Victoria Angeles



                                                           2021CI18237
                                                    NO. _______________

              ANIKA ALFARO                                    §    IN THE DISTRICT COURT
              Plaintiff,                                      §
                                                                  Bexar County - 408th District Court
                                                              §
              V.                                              §    _________ JUDICIAL DISTRICT
                                                              §
              DON-LYN EXPRESS AND THOMAS                      §
              SMITH                                           §
              Defendants.                                     §    OF BEXAR COUNTY, TEXAS

                                           PLAINTIFF'S ORIGINAL PETITION

              TO THE HONORABLE JUDGE OF SAID COURT:

                      NOW COMES Anika Alfaro, hereinafter called Plaintiff, complaining of and about

              Don-Lyn Express and Thomas Smith, hereinafter called Defendants, and for cause of action

              shows unto the Court the following:

                                          DISCOVERY CONTROL PLAN LEVEL

                      1.      Plaintiff intends that discovery be conducted under Discovery Level 2.

                                                  PARTIES AND SERVICE

                      2.      Plaintiff, Anika Alfaro, is an Individual whose address is 13942 Chisom Creek,

              San Antonio, Texas 78249.

                      3.      The last three numbers of Anika Alfaro's driver's license number are 401.

                      4.      Defendant Don-Lyn Express, a Corporation based in Texas, is organized under

              the laws of the State of California, and service of process on the Defendant may be effected

              pursuant to sections 5.201 and 5.255 of the Texas Business Organizations Code, by serving the

              registered agent of the corporation, Paul R. Calvillo, at 3504 Standard St., Bakersfield, CA

              93308-5225, its registered office. Service of said Defendant as described above can be effected

              by certified mail, return receipt requested.
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        5.       Defendant Thomas Smith, an Individual who is a resident of Oklahoma, may be

served with process at the following address: 125 SW Street, Oklahoma City, OK 73109.

Service of said Defendant as described above can be effected by personal delivery.

                                    JURISDICTION AND VENUE

        6.       The subject matter in controversy is within the jurisdictional limits of this court.

        7.       Plaintiff seeks:

                 a.      monetary relief over $1,000,000.

        8.       This court has jurisdiction over the parties because Defendants are Texas

residents.

        9.       Venue in Bexar County is proper in this cause under Section 15.002(a)(1) of the

Texas Civil Practice and Remedies Code because all or a substantial part of the events or

omissions giving rise to this lawsuit occurred in this county.

                                                FACTS

        10.      On August 3, 2021, Plaintiff was operating a 2015 Silver Toyota Camry sedan.

Defendant Thomas Smith was operating a 2017 White Freightliner tractor trailer. Both parties

were traveling West bound at approximately the 2400 block of NW Loop 410 in San Antonio,

Texas. The parties were traveling parallel: Plaintiff was on a right lane and Defendant was on a

left lane. As the parties continued to travel, Defendant negligently decided to change lanes when

unsafe into the Plaintiff’s lane of travel. As a result, Defendant ended up colliding into the

Plaintiff’s vehicle, causing property damages and bodily injuries. The impact was received on

the driver’s side of Plaintiff’s vehicle.

        At the time of the collision, the Defendant was employed by Don-Lyn Express Inc. The

tractor trailer operated by the Defendant was owned by Don-Lyn Express Inc., and Defendant
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Thomas Smith was employed as a driver.

                                   PLAINTIFF'S CLAIM OF

             NEGLIGENT ENTRUSTMENT AGAINST DON-LYN EXPRESS

       11.     On August 3, 2021, Defendant Don-Lyn Express was the owner of the vehicle

operated by Thomas Smith.

       12.     Defendant Don-Lyn Express entrusted the vehicle to Thomas Smith, a reckless

and incompetent driver.

       13.     Defendant Don-Lyn Express knew, or through the exercise of reasonable care

should have known, that Thomas Smith was a reckless and incompetent driver.

       14.     As described herein, Thomas Smith was negligent on the occasion in question.

       15.     Thomas Smith's negligence was the proximate cause of Plaintiff's damages.

                                   PLAINTIFF'S CLAIM OF

                          NEGLIGENCE AGAINST THOMAS SMITH

       16.     Defendant Thomas Smith had a duty to exercise the degree of care that a

reasonably careful person would use to avoid harm to others under circumstances similar to those

described herein.

       17.     Plaintiff's injuries were proximately caused by Defendant Thomas Smith's

negligent, careless and reckless disregard of said duty.

       18.     The negligent, careless and reckless disregard of duty of Defendant Thomas

Smith consisted of, but is not limited to, the following acts and omissions:

               A.      In that Defendant Thomas Smith failed to keep a proper lookout for
                       Plaintiff's safety that would have been maintained by a person of ordinary
                       prudence under the same or similar circumstances;

               B.      In that Defendant Thomas Smith failed to turn his motor vehicle to the left
                       in an effort to avoid the collision complained of;
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              C.     In that Defendant Thomas Smith operated his vehicle in Plaintiff's lane of
                     traffic and failed to give Plaintiff at least one-half of the roadway;

              D.     In that Defendant Thomas Smith failed to keep such distance away from
                     Plaintiff's motor vehicle as a person using ordinary prudent care would
                     have done;

              E.     In that Defendant Thomas Smith failed to apply his brakes to his motor
                     vehicle in a timely and prudent manner; and

              F.     In that Defendant Thomas Smith changed lanes when it was unsafe to do
                     so.

                     DAMAGES FOR PLAINTIFF, ANIKA ALFARO

       19.    As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, Anika Alfaro was caused to suffer bodily injuries and property damages, and to incur

the following damages:

              A.     Reasonable medical care and expenses in the past. These expenses were
                     incurred by Plaintiff, Anika Alfaro for the necessary care and treatment of
                     the injuries resulting from the accident complained of herein and such
                     charges are reasonable and were usual and customary charges for such
                     services in Bexar County, Texas;

              B.     Reasonable and necessary medical care and expenses which will in all
                     reasonable probability be incurred in the future;

              C.     Physical pain and suffering in the past;

              D.     Physical pain and suffering in the future;

              E.     Physical impairment in the past;

              F.     Physical impairment which, in all reasonable probability, will be suffered
                     in the future;

              G.     Loss of earnings in the past;

              H.     Loss of earning capacity which will, in all probability, be incurred in the
                     future;

              I.     Mental anguish in the past; and
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               J.      Mental anguish in the future.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Anika Alfaro, respectfully

prays that the Defendants be cited to appear and answer herein, and that upon a final hearing of

the cause, judgment be entered for the Plaintiff against Defendants, jointly and severally, for

damages in an amount within the jurisdictional limits of the Court; together with pre-judgment

interest (from the date of injury through the date of judgment) at the maximum rate allowed by

law; post-judgment interest at the legal rate, costs of court; and such other and further relief to

which the Plaintiff may be entitled at law or in equity.



                                              Respectfully submitted,

                                              The Law Office of Gilberto Falcon, PLLC


                                              By: /s/Gilberto Falcon
                                                   Gilberto Falcon
                                                   Texas Bar No. 24066525
                                                   Email: gilberto@gilbertofalconlaw.com
                                                   404 N Britton Ave
                                                   RIO GRANDE CITY, TX 78582
                                                   Tel. (956) 487-6363
                                                   Fax. (956) 487-6336
                                                   Attorney for Plaintiff
                                                   Anika Alfaro


                                                    The Law Office of David Royse Joe
                                                    David Joe
                                                    Attorney at Law
                                                    375 South 10th Street
                                                    Raymondville, Texas 78580
                                                    Davidroysejoe@yahoo.com
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        PLAINTIFF HEREBY DEMANDS TRIAL BY JURY
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10/19/2021 4:29 PM
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Consuelo Gomez
                                                                                                                            Cause Number:              :lDa \t \m~1
Bexar County - 408th District Court                                                                                         District Court :           {Di th
                                                                  Mary Angie Garcia
                                                               Bexar County District Clerk
                                                                         Request for Process
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  Request the following process: (Please check all that Apply)
  1)cl Citation D Notice D Temporary Restraining Order D Notice of Temporary Protective Order
  □ Temporary Protective Order D Precept with hearing □ Precept without a hearing □Writ of Attachment
  □Writ of Habeas Corpus D Writ of Garnishment □ Writ of Sequestration OCapias D Other: _ _ _ _ _ _ __

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                 □ Certified Mail       D Registered Mail □ Out of County                  □Secretary of State □ Commissioner of Insurance
  4.
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  Registered Agent/By S e r v i n g : - - - - - - - - - - - - - - - - - - - - - - - - - - - -_-
  Address _____________________________________
  Service Type:          (Check One)   □Private Process □Sheriff □Publication (Check One) □ commercial Recorder OHart Beat □ courthouse Door
                 □ Certified Mail       D Registered Mail □ out of County                  □secretary of State □ commissioner of Insurance




                                                                                                      ____ Other ______

           ****IF SERVICE IS NOT PICKED UP WITHIN 14 BUSINESS DAYS, SERVICE WILL BE DESTROYED****
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Mindy Cardoza on behalf of Gilberto Falcon
Bar No. 24066525
mindy@gilbertofalconlaw.com
Envelope ID: 58340958
Status as of 10/21/2021 9:42 AM CST

Associated Case Party: Anika Alfaro

Name              BarNumber Email                         TimestampSubmitted       Status

Gilberto Falcon             gilberto@gilbertofalconlaw.com 10/19/2021 4:29:42 PM   SENT
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                                         CAUSE NO. 2021CI18237
   ANIKA ALFARO                                        §               IN THE DISTRICT COURT
                                                       §
   V.                                                  §               408TH JUDICIAL DISTRICT
                                                       §
   DON-LYN EXPRESS AND                                 §
   THOMAS SMITH                                        §               BEXAR COUNTY, TEXAS

                  DEFENDANT, DON-LYN EXPRESS II, INC.’S ORIGINAL,
                       RULE 193.7 NOTICE, AND JURY DEMAND

        DON-LYN EXPRESS II, INC. (Incorrectly named as Don-Lyn Express) (“Defendant”), a

Defendant in the above-entitled and numbered cause, and files its Original Answer, Rule 193.7

Notice, and Jury Demand, to Plaintiff, ANIKA ALFARO, Plaintiff’s Original Petition (“Plaintiff”)

and would respectfully show unto the Court as follows:

                                             GENERAL DENIAL

        1.       Pursuant to Rule 92 of the TEXAS RULES OF CIVIL PROCEDURE, Defendant generally

denies each and every allegation contained in Plaintiff’s most recently filed petition, and

respectfully demand that Plaintiff be required to prove her charges and allegations against

Defendant by a strict preponderance of the evidence, as is required by the Constitution and laws

of the State of Texas.

                                                DEFENSES
        2.       By way of affirmative defense and/or inferential rebuttal, while continuing to deny

liability as indicated above, Defendant contends that any recovery by Plaintiff of pre-judgment

interest is limited by the dates and amounts set forth in Chapter 304 of the TEXAS FINANCE CODE.

        3.       By way of further affirmative defense and/or inferential rebuttal, while continuing

to deny liability as indicated above, Defendant asserts that any recovery of medical or healthcare

expenses, if any, by Plaintiff be limited to those amounts that are (i) both reasonable and necessary,

and (ii) actually paid or incurred by or on behalf of the Plaintiff as mandated by Section 41.0105



Defendant Don-Lyn Express’ Original Answer                                              Page 1 of 4
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of the TEXAS CIVIL PRACTICE AND REMEDIES CODE.

        4.          By way of further affirmative defense and/or inferential rebuttal, while continuing

to deny liability as indicated above, Defendant contends that should Plaintiff seek to recover loss

of earnings, loss of earning capacity, loss of contributions of a pecuniary value, and/or loss of

inheritance, if any, that this Court require any evidence to prove such loss be presented in the form

of a net loss after reduction for income tax payments or unpaid tax liability, pursuant to TEXAS

CIVIL PRACTICE AND REMEDIES CODE Section 18.091. Moreover, Defendant requests the Court to

instruct the jury that any recovery for compensatory damages sought by Plaintiff is subject to

federal or state income taxes.

          5.        Defendant denies that it is liable to Plaintiff for any damages and asserts that, if any

damages are awarded, TEXAS CIVIL PRACTICE & REMEDIES CODE Section 41.007 limits pre-

judgment interest, if any.

          6.        Defendant denies that it is liable to Plaintiff for any damages and that, if any

damages are awarded, TEXAS FINANCE CODE Section 304.1045 disallows pre-judgment interest on

future damages, if any.

          7.        Defendant denies that it is liable to Plaintiff for any damages and asserts that, if any

damages are awarded, TEXAS FINANCE CODE Sections 304.104 – 304.105 governs the calculation

of prejudgment interest, if any, and Section 304.003(c) governs the calculation of post-judgment

interest, if any.

           8.       Defendant denies it is liable to Plaintiff for any damages and asserts that Defendant

is entitled to all caps and limitations on damages pursuant to the TEXAS CIVIL PRACTICES &

REMEDIES CODE.




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           9.    Defendant would further show that it is entitled to all caps and limitations on

damages pursuant to TEX.BUS.& COM.CODE Section17.50.

        10.      Defendant further asserts that if Plaintiff agreed or is required to pay a medical

provider more than a reasonable amount for services, the difference between the amount paid and

a reasonable amount is not the result of Defendant’s conduct but, rather, due to the conduct of

Plaintiff, Plaintiff’s medical provider(s) and/or Plaintiff’s authorized agents. In re K & L Auto

Crushers, LLC, 19-1022, 2021 WL 2172535, at *6 (Tex. 2021), reh'g denied.

           11.   By way of further affirmative defense and/or inferential rebuttal, while continuing

to deny liability as indicated above, Defendant contends that the damages and injuries, if any, that

Plaintiff is alleging are the result of a condition(s) and/or an injury(ies) existing before, and/or

arising subsequent to the alleged occurrence in question and Plaintiff’s damages, if any, are the

result of a pre-existing and/or subsequent condition, injury, accident or occurrence, and were not

proximately caused by the alleged occurrence in question.

                                              RULE 193.7 NOTICE

        12.      Pursuant to Texas Rule of Civil Procedure 193.7, Defendant gives notice to Plaintiff

that any and all documents and things produced by Plaintiff or any other party may be used at any

pretrial proceeding and/or the trial of this case without the necessity of authenticating said

documents and things.

                                             JURY TRIAL DEMAND

        13.      Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Defendant hereby

makes demand and application for jury trial.

        WHEREFORE, PREMISES CONSIDERED, Defendant pray that upon final hearing

hereof, Defendant have judgment that Plaintiff take nothing by way of this cause of action, and




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that Defendant go hence without day for costs and that the Court order such other relief to which

Defendant may be justly entitled.

                                                    Respectfully submitted,

                                                    Christiana “Chrissy” Dijkman
                                                    Christiana Dijkman
                                                    SBN: 00783967
                                                    Law Office of John Martinez
                                                    1100 Northwest Loop 410, Suite 370
                                                    San Antonio, TX 78213
                                                    210-949-0166
                                                    956-238-0194: Direct
                                                    855-949-1338: Fax
                                                    dijkmc1@nationwide.com
                                                    Attorney for Defendant

                                             CERTIFICATE OF SERVICE

       On November 16, 2021, a true and correct copy of this document was served in accordance
with Texas Rules of Civil Procedure to:

 Gilberto Falcon
 SBN 24066525
 The Law Office of Gilberto Falcon, PLLC
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 Rio Grande City, Texas 78582
 956.487.6363
 956.487.6336
 gilberto@gilbertofalconlaw.com
 ~And~
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 davidroysejoe@yahoo.com
 Attorney for Plaintiff


                                                           Christiana “Chrissy” Dijkman
                                                           Christiana “Chrissy” Dijkman




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